
234 P.3d 149 (2010)
235 Or. App. 693
In the Matter of D.J.B., Alleged to be a Mentally Ill Person.
STATE of Oregon, Respondent,
v.
D.J.B., Appellant.
300814507; A139424.
Court of Appeals of Oregon.
Submitted May 20, 2010.
Decided June 16, 2010.
James A. Palmer filed the brief for appellant.
John R. Kroger, Attorney General, Jerome Lidz, Solicitor General, and Kristen G. Williams, Assistant Attorney General, filed the brief for respondent.
Before SCHUMAN, Presiding Judge, and WOLLHEIM, Judge, and ROSENBLUM, Judge.
PER CURIAM.
Appellant seeks reversal of the trial court's judgment committing her as a mentally *150 ill person for a period not to exceed 180 days. ORS 426.130. Appellant contends that the record does not establish by clear and convincing evidence that she is a danger to herself or others as the result of a mental disorder. See ORS 426.005(1). The state concedes that the record lacks clear and convincing evidence to support the involuntary commitment and that the trial court's judgment should be reversed. On de novo review,[1] we agree, accept the state's concession, and reverse.
Reversed.
NOTES
[1]  ORS 19.415, which governs our standard of review, was recently amended. Or. Laws 2009, ch. 231, §§ 2-3. The amendments apply to appeals in which the notice of appeal was filed on or after June 4, 2009. Because the notice of appeal in this case was filed before that date, the amendments do not apply.

